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April 15, 2021

Via email: ryan. kercher@oag.texas.gov
Mr. Ryan Kercher

Assistant Attorney General

Office of the Attorney General for Texas
209 West 14th Street

Austin, Texas 78701

Re: Sara Rana vs. UT Southwestern Medical School

Dear Ryan:

In regard to our discussion with you earlier today Ron and I have discussed your offer with
our client. Ms Rana is willing to abate the present matter on the following:

1.

Ms. Rana's deadline to take the USMLE Step 1 Exam is extended until June 29,
2021. This extension is due to the extraordinary circumstances created by COVID-
19, which led to testing disruptions during the period of April - June 2020 at
Prometrics, the third-party USMLE testing provider. These disruptions happened
through no fault of UT Southwestern or the medical students attempting to take the
exam. Therefore, the approximately three (3) months when testing was not available
will not be counted as part of Ms. Rana's one-year outer limit to pass Step 1, as set by
the UT Southwestern Student Promotions Committee Guidelines.

It is UT Southwestern's sincere hope that Ms. Rana will sit for the exam on June 29,
2021, return a passing score, and resume the medical school clerkship curriculum
where she left off in August 2020 and then went on leave as a reasonable
accommodation due to disability.

In accepting this extension, Ms. Rana is not waiving any prior or subsequent Sec. 504
Rehabilitation Act, or the Americans with Disabilities Act claims.

4. Ms. Rana will file an Unopposed Motion to Abate the case until August 30, 2021.
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If this is acceptable to your client, please sign below and return to me. My office will
prepare the Joint Motion to Abate.

Sincerely,

    

Christopher. Tritico
Attorney for Sara Rana

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cc: Client

ACCEPTED BY:

Date ”
u“- Pa - FJ

 
